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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION

 In Re:                                              Case No. 18-73980-FJS

 Christopher J. Branch                               Chapter 13

 Debtor.                                             Chief Judge Frank J. Santoro

                                  CERTIFICATE OF SERVICE

I certify that on September 9, 2021, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/Parties may access this filing through the Court’s system:

          Christopher M. Baker, Debtors’ Counsel
          ecf@bolemanlaw.com

          John Russell Bollinger, Debtors’ Counsel
          ecf@bolemanlaw.com

          Matthew R. Hahne, Debtors’ Counsel
          ecf@bolemanlaw.com

          Kathryne Mary Rose Shaw, Debtors’ Counsel
          ecf@bolemanlaw.com

          R. Clinton Stackhouse, Jr., Chapter 13 Trustee
          bcourt@rcsch13.com

          Office of the United States Trustee
          ustpregion04.no.ecf@usdoj.gov
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I further certify that on September 9, 2021, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

       Christopher J. Branch, Debtor
       3708 Old Forge Road
       Virginia Beach, VA 23452

 Dated: September 9, 2021                       /s/ D. Anthony Sottile
                                                D. Anthony Sottile
                                                Authorized Agent for Creditor
                                                Sottile & Barile, LLC
                                                394 Wards Corner Road, Suite 180
                                                Loveland, OH 45140
                                                Phone: 513.444.4100
                                                Email: bankruptcy@sottileandbarile.com
